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-UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
In Re: Case No.: 18-13386-RAM
Rafael Angel Gonzalez Mendoza and Chapter 7

Carmen Cecilia Balguer Peral

Debtors
/

NOTICE OF FILING RESPONSE TO 2004 EXAMINATION DUCES TECUM
COMES NOW Debtors’ counsel for Rafael Angel Gonzalez Mendoza and Carmen

Cecilia Balguer Peral and files a copy of the response to the Trustee’s 2004 Examination
Duces Tecum which was emailed to the Trustee’s office on July 19, 2018.

Respectfully submitted,

 

FREIRE & GONZALPZ, P.A.

Attorneys for Debtof(s)

[ ] Edward Freire, Esq. FBN: 0813771
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By:
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FREIRE & GONZALEZ, P.A.

EDWARD FREIRE, ESQ. LAILA S: GONZALEZ, ESQ. GIANNY BLANCO, ESQ

 

Via email: joshua.kligler@dunnlawpa.com
July 19, 2018

Dunn Law, P.A.

Attn: Joshua C. Kligler, Esq.

555 Northeast 15" Street, Ste 934-A
Miami, FL 33132-1451

Re: Rafael Angel Gonzalez Mendoza and Carmen Cecilia Balguer Peral
Case No.: 18-13386-RAM

Dear Mr. Kliger:

| am receipt of your Notice of Rule 2004 Examination Duces Tecum and enclose the
following documents in response as follows:

A. Real Property:

1. Please note the Debtors have never owned any real property, they have
always rented.

2. None.
3. . None.
4. None
5. Enclosed please find a copy of the only rental agreements the Debtors

have entered into within four (4) years prior to the petition date.

a) The address located at 2250 NW 114" Avenue, Unit 1V, Miami,
FL 33172 is a service which allowed the Debtors to receive
packages. This is an online service called Mailboxes, etc.

b) The address located at 2260 NW 114" Avenue, Unit IV, Miami, FL

33172 is also a service which allowed the Debtors to receive
packages. This is an online service called Mailboxes, etc.

B. Personal Property

6. Enclosed please find pictures of the Debtors’ household goods and
furnishings.

6a. The Debtors do not have any designer wear, shoes or furs. Pictures of
the electronics are included in the document request to the above

 

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request.
7. There are no documents with reqard to this request. Most of the furniture

was purchased between 2013 and 2014, at Ikea and Ashley furniture.
The only item purchased by the Debtors which exceeded the purchase
price of $ 500 was a television purchased over two (2) years ago, but
they did not keep the receipt.

8. The Debtors do not have any documents with regard to this request other
than pictures of the Debtors’ jewelry, which are enclosed.

C. Personal Finance
9. With regard to the Debtors’ Bank Accounts enclosed please find:
a. Statements for the Bank of America Checking Account No.:5758

and Savings Account No.: 5627 from February 15, 2014 to June
18, 2018.

b. Statements for the Bank of America Business checking Account
No.: 1127 from June 2, 2017 to June 30, 2018.

c. Statements for the Bank of America Business checking Account
No.: 3439 from August 28, 2014 to May 31, 2017. Please note
this account was closed by the bank due to non-authorized
charges in May, 2017.

10. Explanation of electronic wire transfers:
a) Incoming

Business Account

i) 3/16/17 -$52,273.38 transfer from joint debtor's mother to
business bank acct. No. 1127 to keep business afloat.

it) 6/20/17 - $8,153.30 wire transfer to business bank acct.
No. 1127 from Ygrene - payment for solar panels and work
performed

iii) 6/20/17 - $3,494.27 wire transfer to business bank acct.
No. 1127 from Ygrene - payment for solar panels and work
performed

iv) 6/30/17 - $50,00.00 wire transfer to business bank acct.
No. 1127 from Ygrene - payment for solar panels and work
performed.

v) 7/TIN7 - $23,849.31 wire transfer to business bank acct.
No. 1127 from Ygrene - payment for solar panels and work
performed.

vi) 7/7/17 - $8,140.78 wire transfer to business bank acct. No.

1127 from Ygrene - payment for solar panels and work

 

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performed.

vii) 8/1/17 - $27,087.38 wire transfer to business bank acct.
No. 1127 from Ygrene - payment for solar panels and work
performed.

Personal Account:

vil) 10/18/17 - $10,000.00 deposit into personal bank acct. No.
5758 was a partial payment from the sale of Agrotrans
(business in Venezuela listed in the SOFA) ( Please note:
When you have to send money from Venezuela, it is hard
to get dollars so that is why the money gets sent in smaller
amounts than the entire transaction amount.)

Business Account:

ix) 12/1/17 - $7,276.70 - Ygrene- payment for solar panels
and work performed.

x) 12/7/17 - $29,126.31 -Ygrene- payment for solar panels
and work performed.

b) Outgoing:

i) 3/16/17 -$15,000.00-Loan Payment for short-term loan to
the business from a money lender, which is reflected in the
bank statements as follows: 2/24/2017 deposit of $
9,000.00 and on 2/27/2017 deposit of $ 6,000.00 into the
Regions business bank account.

 

11. The Debtors have no additional documents other than what is reflected in the
business and personal bank statements and the Quickbooks on the USB drive
which is being mailed out to theTrustee on July 19, 2018.

12. The owner of Bam Bam Used Auto Sales, Inc. purchased solar panels and then
changed his mind. Check no. 1022 from business account was to used to return
the money to him.

13. Enclosed please find the debtors’ signature cards for:

- Bank of America Checking Account No. 5758
- Bank of America Savings Account No. 5627
- Bank of America Business Account No. 1127

14. None. The Debtors never took any cash advances from any of their credit cards.
The only loan which is similar to a line of credit was the loan from Lending Tree
for $ 15,000.00. The funds were deposited in the Debtors’ bank account and
were used for living expenses as reflected in the bank account statements. The

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application was an on-line application. The only document the Debtors have is
the email reflecting the approval of the loan, which is enclosed.

 

15. See the answer to Question 14.

16. The Debtors do not have any documents with regard to this request.

17. None

18. The only bank accounts into which the Debtors deposited their earnings were the
bank accounts reflected in Schedule A/B of the petition.

19. None

20. Enclosed please find copies of the Debtors’ credit card statements which are in
the Debtors’ possession. These are the only documents the Debtors have with
regard to this request. They have no receipts.

21. Please note the debtors did not file a 2014 tax return. They started working for
their company, Prestige Solar, Inc., in August, 2014. Enclosed please find copies
of their 2015, 2016 and 2017 Joint Income Tax Returns. The Debtors did not file
a declaration of no income.

22. Enclosed please find copies of the checks from the IRS for the 2017 and 2017
Tax Returns.

23. None

24. None

25. The Debtors have advised that there are only six (6) cash withdrawals that fall:
into the requested parameters.

2/9/2018- Withdrawal of $ 500.00-These funds were withdrawn to pay for the
Debtors’ daughter’s gymnastics. Enclosed please find a copy of the receipt for
gymnastics for the Debtors’ daughter.
42/26/2017-Withdrawal of $ 500.00-These funds were withdrawn for the Debtors’
daughters’ competition fees for gymnastics. Enclosed please find a receipt
reflecting the payment of same.
11/30/2017-Withdrawal of $ 900.00-Enclosed please find a copy of the receipt
for two (2) months of the Debtors’ daughter’s gymnastics payments. The Co-
Debtor used the balance of the $900.00 to pay for their son’s tennis classes.
5/25/2017-Withdrawal of $ 600.00-The Debtor deposited $ 850.00 into the
business bank account on 8/31/2017.

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FREIRE & GONZALEZ, P.A.

 

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26.

27.

28.

29.

2/8/2017-Withdrawal of $ 500.00-$ 350.00 of this withdrawal was deposited into
the Prestige Solar Business Bank account on 2/17/2017.

4/24/2017-Withdrawal of $ 1,000.00-This withdrawal was deposited into the
Prestige Solar Business Bank account on the same day.

None
None
None

None

D. Business Interests:

a) None. Please note that with regard to Go Solar, LLC, the debtor is

 

30.
solely a 1099 employee.

b) Enclosed please find the Sunbiz documents regarding the
ownership of Prestige Solar, Inc. Please be advised that the stock
certificates are located in the storage facility the Trustee
abandoned.

31. The USB flash-drive containing the Quick Books information which contains the
accounting data is being mailed to the Trustee on July 19, 2018.There is no
password.

32. Please note the business, Prestige Solar began operations in August, 2014.
Enclosed please finda copy of the business Income Tax Returns for 2015, 2016

- and 2017.
The Debtor's other business, which was located in Venezuela, Agro Trans
Venezuela, ceased operations in 2013, because the Debtor. moved to.the United
States and he was the person who was running the company. Last year the
other 50% owner of the company purchased the Debtor's 50% ownership of the
assets of the corporation which consisted of two (2) trucks/trailers.

33. Already provided in number 30. b.

34. Information in Quick books file.

35. With regard to this request, Prestige Solar only had a business license and an
occupational license and a business license, both of which are inside the storage
unit, to which the Debtor no longer has access, because the storage unit is no
longer being paid. Enclosed please find a copy of the contractor’s license.

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36. The information is in the Quick books file and copies for same are in the
aforementioned storage unit.

37. Any documents with regard to this request are located in the aforementioned
storage unit.

38. Any information with reference to this request is located in Quick books. Copies
of said documents are in the storage unit.

39. None.

40. None.

General / Other

 

41. a) The only document is with regard to the sale of Agrotrans is the email
which was already provided to the Trustee.

b) None. However, the Debtor's partner in Agro Trans traded Venezuelan
Bolivares, the Venezuelan currency, for U.S. dollars, so Mr. Garcia wire
transferred said funds to the Debtors.

c) None. However, However, the partner in Agro Trans traded Venezuelan
Bolivares, the Venezuelan currency, for U.S. dollars, so Ms Romay wire
transferred said funds to the Debtors.

d) None. However, Amad Farah, is a family friend and they rented a
property during the hurricane Irma. She paid half of the rental fees.

e ) None-However, the partner of Agro Trans traded Venezuelan Bolivares,
the Venezuelan currency for U.S. dollars, so Mr. Blanco wire transferred
said funds to the Debtors.

f) None, The Debtors do not recognize this name whatsoever.

g) Maria Balaguer, Co debtor's mother —

h) None- However Roberto Cano sold U.S. Dollars to the partner who
purchased Agro Tran and wire transferred the U.S. Dollars to the
Debtors.

i) None-other than Micah McCarter was a Prestige Solar 1099 employee,
there were checks cut to him.

j) None- other than the Jon Paulisin(!) was a Prestige Solar 1099 employee
and there are therefore checks cut to him.

k) None-other than Nidiel Puentes was a Prestige Solar 1099 employee so

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EDWARD FREIRE, ESQ.

LAILA S. GONZALEZ, ESQ.

there were checks cut to him.

l) None-However the Debtors rented a house in Orlando during Hurricane
~ Irma and Maritza Vargas is the owner of the Orlando property, so there

GIANNY BLANCO, ESQ

should be a check made payable to Ms. Vargas.

42. None, other than what has already been provided herein.

. 43. Please see enclosed a copy of the lawsuit against the Debtors and the Debtor’s

business.

44. Enclosed please find a copy of the Debtors’ passports from Venezuela. The
Debtors do not have a passport issued from the United States. They have no

other travel documents.

Should you have any additional questions, please don’t hesitate to call me.

Sincerely,

   

Laila S.
LSG: fr

nzaléz, Esq.

Enclosures

 

 

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